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                                                                                   Filed: 10/30/2019
                                                                           Clerk, U.S. District Court
                                                                           Western District of Texas

                                                                    By:        RRV
                                                                               Deputy


                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

USA                                            §
                                               §
vs.                                            §    Case Number: EP:19-CR-03456(1)-DCG
                                               §
(1) JOSE ALEJANDRO VAQUERA                     §
      Defendant



                        ORDER APPOINTING COUNSEL

      The above named Defendant has testified under oath, or has otherwise satisfied this
court that he or she is financially unable to employ counsel, and does not wish to waive
counsel.

      Because the interests of justice so require, the Federal Public Defender, of this
District is hereby appointed, pursuant to the provisions of the Criminal Justice Act, to
represent said Defendant in this case.

        This appointment shall remain in effect until further order of this court.

        It is, accordingly, so ORDERED this 30th day of October, 2019.




                                                   ______________________________
                                                   MIGUEL A. TORRES
                                                   UNITED STATES MAGISTRATE JUDGE
